 Case 4:20-cr-00269-Y Document 183 Filed 10/04/22   Page 1 of 1 PageID 1609


                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

UNITED STATES OF AMERICA             §
                                     §
VS.                                  §   CRIMINAL NO. 4:20-CR-269-Y
                                     §
ERIC PRESCOTT KAY (1)                §

                     ORDER GRANTING MOTION FOR LEAVE
                      TO SUBMIT SENTENCING MATERIALS

      Before the Court is the defendant’s unopposed motion for leave to

submit sentencing materials filed September 26, 2022.     After review, the

Court grants the motion, and the defendant may submit any character letters

or other sentencing materials referred to in paragraphs eleven, twelve,

and thirteen of the order granting defendant’s unopposed motion to extend

sentencing deadlines, filed August 23, 2022, no later than October 7, 2022.

      SIGNED October 4, 2022.

                                         ____________________________
                                         TERRY R. MEANS
                                         UNITED STATES DISTRICT JUDGE
